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 1                              UNITED STATES DISTRICT COURT
 2                            NORTHER DISTRICT OF CALIFORNIA
 3                                         SAN FRANCISCO
 4
 5   JAVIER CORRAL,                                 )   Case No.: 3:17-cv-3987-JST
                                                    )
 6                    Petitioner,                   )   Agency No. 205-907-451
 7           vs.                                    )
                                                    )   [PROPOSED] ORDER GRANTING
 8   JEFFERSON B. SESSIONS, in his official         )   STIPULATED EXTENSION OF TIME
     capacity as Attorney General of the United     )
 9   States; ELAINE DUKE, in her official           )
10   capacity as Acting Secretary of the U.S.       )
     Department of Homeland Security; DAVID )
11   JENNINGS, in his official capacity as Sheriff- )
     Coroner of Contra Costa County in charge of )
12   the West County Detention Facility,            )
13                                                  )
                     Respondents.                   )
14                                                  )
15
16          PURSUANT TO STIPULATION, IT IS SO ORDERED that the parties
17   request to extend the time period for Petitioner to Respond to Respondents’ Motion
18   to Dismiss is GRANTED. PURSUANT TO STIPULATION, IT IS SO ORDERED
19   Petitioner’s opposition shall be due September 29, 2017, and Respondents’ reply
20   shall be due October 6, 2017.
21
22
             September 1, 2017
      Date: __________________________ _______________________________
23
                                       Honorable Jon S. Tigar
24
                                       United States District Judge
25
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